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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-00541-REB-KLM

   ALAYNA ORDONEZ,
   EVAN ORDONEZ, and
   ELIJAH ORDONEZ,

          Plaintiffs,

   v.

   MARRIOT INTERNATIONAL,
   HIT SWN TRS, LLC,

        Defendants.
   _____________________________________________________________________

                 ORDER APPOINTING MASTER FOR DISCOVERY
   _____________________________________________________________________
   ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

          THIS MATTER is before the Court on the Notice and Order Regarding Appointment

   of Master [#103] (“Notice”). Former Chief Justice Nancy E. Rice has provided an affidavit

   affirming that she is not aware of any ground for disqualification pursuant to 28 U.S.C. §

   455. Aff. of Nancy E. Rice [#103-1] at 1; Fed. R. Civ. P. 53(b)(3)(A). As required by Fed.

   R. Civ. P. 53(b)(1), the Court has given the parties notice, see [#103], and an opportunity

   to respond and object. Id. No objections have been filed. Accordingly,

          IT IS HEREBY ORDERED that, pursuant to Fed. R. Civ. P. 53, Nancy E. Rice is

   APPOINTED MASTER for the purpose of managing and supervising discovery and

   resolving discovery disputes until further order of this Court.

          IT IS FURTHER ORDERED that:

          1. The Master shall convene such hearings or direct the submission of motions and

   briefs relating to discovery disputes as the Master deems appropriate and shall issue

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   orders resolving such disputes.

          2.    The Master shall have the sole discretion to determine the appropriate

   procedures for resolution of all assigned matters as set forth above and shall have the

   authority to take all appropriate measures to perform the assigned duties as set forth

   above. The Master may, by order, impose upon a party any sanction other than contempt

   and may recommend a contempt sanction against a party and contempt or any other

   sanction against a non-party.

          3. The parties shall not engage in any ex parte discussions with the Master and the

   Master shall not engage in any ex parte discussions with any of the parties. The Master

   may engage in ex parte discussions with the undersigned.

          4. The parties are no longer obligated to comply with Magistrate Judge Mix’s

   discovery procedures. Unless otherwise ordered by the Master, all discovery disputes shall

   be addressed by filing the appropriate motion (and subsequent briefing) on the Court’s

   docket.     Magistrate Judge Mix will refer appropriate discovery motions filed on the

   electronic docket to the Master. All filings must comply with the applicable Federal and

   Local Rules. The parties shall file on the docket all papers filed for consideration by the

   Master. The Master shall also file on the docket all orders and reports.

          5. The discovery disputes previously submitted to the Court via email that remain

   outstanding shall be converted to motions and filed with the Court. Any such motion shall

   be filed by July 23, 2021. The motions will then be referred to the Master.

          6. Any party seeking review of any ruling by the Master shall file objections pursuant

   to Fed. R. Civ. P. 53(f)(2). All such objections will be resolved by Magistrate Judge Mix.




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         7. The Master shall be reimbursed by the parties for all reasonable fees and

   expenses incurred. As to any particular portion of the proceedings necessitated by the

   conduct of one party, the Master may assess fees and expenses of that portion of the

   proceedings to the responsible party. It is in the discretion of the Master to allocate the

   fees and expenses between the parties.

         8. The Master shall be paid $425.00 per hour for work done pursuant to this Order.

   The Master shall bill the parties on a monthly basis for fees and disbursements. Payment

   to the Master by the parties shall be due upon receipt. The Court may impose sanctions

   against any party who fails or refuses to pay the fees and expenses assessed by the

   Master.

         IT IS FURTHER ORDERED that the Clerk of Court shall give Former Chief Justice

   Nancy E. Rice of the Judicial Arbiter Group those filing privileges afforded to Special

   Discovery Masters. See Notice [#103].

         Dated: July 14, 2021




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